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 7
 8
 9                            UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12
13                                               Case No. 07-5944 SC
   In re: CATHODE RAY TUBE (CRT)
14 ANTITRUST LITIGATION                          MDL No. 1917
15
                                                 STIPULATION AND [PROPOSED]
16 This Document Relates to:                     ORDER APPROVING PAYMENT OF
                                                 EXPENSES FROM SETTLEMENT
17 INDIRECT PURCHASER ACTION                     FUND
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     STIPULATION AND [PROPOSED] ORDER APPROVING EXPENSES FROM SETTLEMENT FUND, MDL
                                         No. 1917
           Case 3:07-cv-05944-JST Document 2944 Filed 10/22/14 Page 2 of 4



 1          WHEREAS, Indirect Purchaser Plaintiffs (“IPPs”) and Defendants LG Electronics, Inc., LG

 2 Electronics USA, Inc., and LG Electronics Taiwan Taipei Co., Ltd, (collectively, “LG”) entered into
 3 a settlement agreement on May 28, 2013 by which LG agreed to pay IPPs Twenty Five Million
 4 Dollars ($25,000,000) in return for a release of claims;
 5          WHEREAS, the settlement agreement also provides that:

 6                  [A]fter final approval, Class Counsel may apply to use any amount paid by LG to
                    pay the past or future expenses of this litigation.
 7
 8 LG Settlement Agreement, ¶ 22(a);
 9          WHEREAS, the Court granted preliminary approval of the LG settlement on December 9,
10 2013 (Dkt. No. 2248);
11          WHEREAS, in its Order Granting Preliminary Approval of Class Action Settlement With
12 LG, the Court directed IPPs’ Lead Counsel to provide notice to class members of the terms of the
13 settlement, including Lead Counsel’s request to withdraw up to $5 million from the Settlement Fund
14 to pay expenses incurred or to be incurred in this litigation;
15          WHEREAS, said notice was given to Class Members as directed by the Court;
16          WHEREAS, the published notice provided that at the Final Approval Hearing: “The Court
17 will also consider Class Counsel’s request that $5 million from the Settlement Fund be set aside to
18 pay for expenses incurred or to be incurred in prosecuting this case.”;
19          WHEREAS, after the Fairness Hearing, the Court entered its Order Granting Final Approval
20 of Settlement With LG, including the request that $5 million from the Settlement Fund be set aside
21 to pay for expenses incurred or to be incurred in prosecuting this litigation (Dkt. No. 2542);
22          WHEREAS, the Order Granting Final Approval of Settlement With LG is now final;
23          WHEREAS, the Court has previously approved the withdrawal of $500,000 by IPPs to be
24 used to pay expenses (Dkt No. 2618);
25          WHEREAS, IPPs’ Lead Counsel seeks to withdraw an additional $750,000 from the Escrow
26 Fund at this time to pay for expenses incurred in this litigation (specifically, to pay a portion of the
27 cost of IPPs’ expert economist’s recent work on the IPPs’ merits and damages reports);
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        STIPULATION AND [PROPOSED] ORDER APPROVING EXPENSES FROM SETTLEMENT FUND,
                                       MDL No. 1917
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 1          WHEREAS, LG has no objection to IPPs’ Lead Counsel withdrawing $750,000 from the

 2 Escrow Fund to pay for expenses incurred or to be incurred in this litigation.
 3          IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the

 4 undersigned Plaintiffs and Defendants, as follows:
 5          Lead Counsel for the IPPs may withdraw $750,000 from the LG Settlement Fund Escrow

 6 Account to pay expenses incurred or to be incurred in this litigation. The balance of the settlement
 7 fund shall remain in the escrow account, to be distributed upon further Court Order. IPPs’ Lead
 8 Counsel shall provide the Court with an accounting of all expenses paid.
 9          The undersigned parties jointly and respectfully request that the Court enter this stipulation

10 as an order.
11
12 Dated: October 8, 2014                 By:    /s/ Mario N. Alioto
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                                                 Lead Counsel for the Indirect
18                                               Purchaser Plaintiffs
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20 Dated: October 8, 2014                 By:    /s/ Hojoon Hwang
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                                                 Attorneys for Defendants LG Electronics, Inc.; LG
25                                               Electronics USA, Inc.; and LG Electronics Taiwan
26                                               Taipei Co., Ltd

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        STIPULATION AND [PROPOSED] ORDER APPROVING EXPENSES FROM SETTLEMENT FUND,
                                       MDL No. 1917
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 1        IT IS SO ORDERED.                             TA




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 3 Dated: _______________,




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          October 22       2014                 _________________________________
 4                                              Hon. Samuel A. Conti
                                                                        el Conti JUDGE




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      STIPULATION AND [PROPOSED] ORDER APPROVING EXPENSES FROM SETTLEMENT FUND,
                                      MDL No. 1917
